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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                  PORTLAND DIVISION


  DANIEL AZZOPARDI; and                            Case No.
  SPORTSMAN’S WAREHOUSE, INC.,
                                                   PLAINTIFFS’ EMERGENCY
                        Plaintiffs,                MOTIONS FOR A TEMPORARY
                                                   RESTRAINING ORDER AND
                        v.                         PRELIMINARY INJUNCTION AND
                                                   SUPPORTING MEMORANDUM
  ELLEN ROSENBLUM, in her official
  capacity as Attorney General of the State of     Request for Oral Argument
  Oregon; TERRI DAVIE, in her official
  capacity as Superintendent of the Oregon         Telephonic/Videoconferencing
  State Police,                                    Argument Requested

                        Defendants.

                                          Motions

       Pursuant to Federal Rule of Civil Procedure 65 and Local Rules 7-4 and 65,

Plaintiffs Daniel Azzopardi and Sportsman’s Warehouse, Inc. respectfully request that

this court enter a temporary restraining order and preliminary injunction prohibiting

Defendants and their officers, agents, servants, employees, and all persons in concert or

participation with them who receive notice or the order and injunction from enforcing the

provisions of Oregon Ballot Measure 114 which require individuals to present a permit to


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purchase in order to lawfully acquire firearms, unless and until permits are being issued

consistent with the terms of the Measure. In support of this motion, Plaintiffs submit the

attached memorandum of law and the supporting Declarations filed herewith.

                                   Memorandum of Law

                                    INTRODUCTION

       The Second Amendment right to “keep and bear Arms” is “not a second-class

right, subject to an entirely different body of rules than the other Bill of Rights

guarantees.” New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2156

(2022) (quotation omitted). And a law that entirely blocks exercise of an activity

protected by the Second Amendment is unconstitutional and must be enjoined.

       That is the situation here. Oregon has passed a new law that will require,

beginning December 8, 2022, all firearms purchasers in the state to present a “permit to

purchase” firearms; as envisioned by the law, the process to acquire a permit to purchase

can take up to 30 days to complete. But today, less than a week from the day the

requirement goes live, no one in Oregon has a permit because there is no infrastructure to

support the processing of permit applications—there is not even an application yet; the

Oregon State Police has not created it.

       With no way to apply for a permit, and facing criminal prosecution for purchasing

firearms without a permit, Oregonians will find themselves on December 8th with no

legal way to acquire a firearm. Plaintiffs are seeking a temporary restraining order and

preliminary injunction to prevent the law from going into effect until it is possible for

ordinary, law-abiding citizens to acquire a purchase permit (and therefore, to acquire a

firearm). In the absence of an order from this Court, the Second Amendment rights of

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Plaintiffs (and of every other person living in Oregon) will be effectively extinguished.

There is no way such a law can be justified under the framework outlined in Bruen, so

Plaintiffs are certain to succeed on the merits of their claim, and the remaining

preliminary injunction and temporary restraining order factors all weigh in favor of

granting Plaintiffs emergency relief.

                                      BACKGROUND

       On November 8, 2022, Oregon voters approved Ballot Measure 114 which,

among other things, requires that “before a firearm is delivered to a purchaser” by a

licensed gun dealer, a purchaser must “present to the gun dealer . . . a valid permit issued

under section 4 of this 2022 Act.” Measure 114 § 6(2)(a) (attached to the Complaint as

Exhibit A). Permits are also required for private transfers and all transfers at “gun

shows.” Id. §§ 7(3)(a), 9(1)(a)(A).

       This permit-to-purchase requirement goes into effect on December 8, 2022.

Oregon State Police Firearms Instant Check System (FICS) Update – Oregon,

https://bit.ly/3TZYw7Y (Nov. 16, 2022). At that point, any sort of purchase of a firearm

in Oregon will be illegal unless an individual has lawfully acquired a permit first. But

acquiring a permit requires that such permits exist, and that it be possible to get one. It

currently is not possible, and there is no indication it will be possible on December 8th.

       Under Measure 114, to acquire a permit-to-purchase, individuals must apply to

their local police chief or county sheriff (or a “permitting agent” designated by one of

those officials). Ex. A, § 4(1)(a). The application must be made in person, and requires

an individual to be fingerprinted, photographed, submit to a background check, and

provide “additional information determined necessary by [State Police] rules,” id.

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§ 4(1)(b)(D), (1)(c) & (1)(e). Applicants must also complete an approved “firearm safety

course” which must include an “[i]n-person demonstration of the applicant’s ability to

lock, load, unload, fire and store a firearm before an instructor certified by a law

enforcement agency.” Id. § 5(8)(c)(C). If these criteria are met, the permitting agent is

required to issue a permit within 30 days after receiving an application. Id. § 4(3)(a).

          The forms on which an application are to be made, as well as the forms used by

permitting agents to grant permits, must be created by the State Police, which also has

authority to “adopt rules to carry out the provisions of this section.” Id. § 4(4)(a) & (9).

          To date, the State Police has not issued application forms, it has not issued forms

on which permits may be granted, and it has promulgated no rules to carry these

provisions into effect. There has, as of yet, been no indication of what “additional

information,” if any, will be required from applicants—so even the requirements to

receive a permit have not been decided—less than a week before this law is set to go into

effect.

          The training courses also pose a significant barrier to implementing the permit-to-

purchase requirement. There has been no guidance on who will qualify as an instructor

“certified by a law enforcement agency” to provide the course, and there is no indication

of how a person who does not yet own a firearm will be able to complete a course

requiring a live-fire demonstration with a firearm. Id. § 4(8)(c)(D).

          Part of the problem here is that at the time Measure 114 was passed, many

assumed there would be a longer runway to the law going into effect to allow things to be

ironed out. Maxine Bernstein, Oregon gun sales skyrocket after gun control Measure

114 passes, THE OREGONIAN/OREGONLIVE (Nov. 16, 2022), available at

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https://bit.ly/3VJrNVS (“Measure 114’s drafters said they were led to believe the

effective date would be 30 days from Dec. 15, the deadline for the vote to be certified.”).

Things are so uncertain, that even the Measure’s supporters have stated “they anticipate a

legislative workgroup will be formed to clear up details that still need to be addressed” in

the law and have expressed “hope the governor could step in to delay the date the new

law takes effect or the date that certain provisions can be implemented” because they

“want it to be a fair and equitable system and to be as clear as possible.” Id. (emphasis

added). The Governor’s office, for its part, finds its hands tied and has said it “doesn’t

have the authority to extend the date the measure takes effect.” Id.

       And so, Oregon is headed quickly to a situation that no one—even the drafters of

Measure 114—intended or wanted. On December 8, it will become de facto illegal to

purchase firearms anywhere in the state of Oregon, effectively extinguishing Second

Amendment rights all across the state.

       Plaintiff Daniel Azzopardi is a natural person and a citizen of Yamhill County,

Oregon. (Declaration of Daniel Azzopardi (“Azzopardi Decl.”) ¶ 2). He is not

disqualified from lawfully owning firearms or ammunition. (Id. ¶ 3). Mr. Azzopardi

regularly purchase firearms throughout the year and desires and intends to continue doing

so. (Id. ¶ 4). When Oregon’s “permit-to-purchase” requirement goes into effect on

December 8, 2022, he will no longer be able to legally purchase firearms without the new

statutorily mandated “permit-to-purchase.” (Id. ¶ 5). In the intervening time between the

passage of Measure 114 and its scheduled enactment, Azzopardi has attempted to make

firearms purchases but has found that dramatic increases demand have caused serious

background check delays and inventory unavailability that have made his purchases

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impossible. (Id. ¶ 6). Azzopardi desires and intends to purchase additional firearms after

December 8. (Id. ¶ 7). Because Oregon has not established the relevant infrastructure,

application process or approved training requirement curriculum to apply for and receive

a purchase permit, Azzopardi will be categorically prohibited from lawfully purchasing

firearms after December 8, 2022. (Id. ¶ 11).

        Plaintiff Sportsman’s Warehouse is a firearms retailer with eight locations in

Oregon. (Declaration of Matthew French (“French Decl.”) ¶¶ 4-5). It serves hundreds of

thousands of Oregon residents and helps them to protect themselves, participate in

outdoor sporting activities, and subsist through hunting, as well as participating in many

other lawful activities, by exercising their Second Amendment right to purchase and

possess firearms. (Id. ¶¶ 4, 7). Last year, Sportsman’s sold tens of thousands of firearms

in Oregon, generating tens of millions of dollars in revenue. (Id. ¶ 15). If it were not for

the de facto ban on purchasing that will go into effect on December 8, Sportsman’s would

continue to sell firearms to its customers after that date. (Id. ¶¶ 16-17). But because it

fears prosecution by Defendants for violating the law, and because compliance with the

law will be impossible, Sportsman’s will be forced to cease selling firearms everywhere

in Oregon on December 8. (Id. ¶ 16).

                                        ARGUMENT

        “The purpose of a preliminary injunction is to preserve the status quo pending a

determination of the action on the merits.” Chalk v. U.S. Dist. Ct., 840 F.2d 701, 704

(9th Cir. 1998). To obtain a preliminary injunction, plaintiffs must establish: (1)

likelihood of success on the merits; (2) likelihood of irreparable harm in the absence of

preliminary relief; (3) that the balance of equities tips in their favor; and (4) that an

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injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

(2008). When the government is a party to an action, these last two factors merge.

Drakes Bay Oyster Co. v. Jewe4ll, 747 F.3d 1073, 1092 (9th Cir. 2014). The standard

governing the grant of a temporary restraining order is the same. Brown v. United States

Forest Service, 465 F. Supp.3d 1119, 1123 (D. Or. 2020).

I        PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS BECAUSE
         OREGON’S MAGAZINE BAN VIOLATES THE SECOND
         AMENDMENT.

         This case presents a clear constitutional violation. The Second Amendment

states: “A well regulated Militia, being necessary to the security of a free State, the right

of the people to keep and bear Arms, shall not be infringed.” U.S. CONST. amend. II.

This right is personal and presumptively “belongs to all Americans.” District of

Columbia v. Heller, 554 U.S. 570, 581 (2008). Under Bruen, this Court must begin by

reviewing the Second Amendment’s text; and “when the Second Amendment’s plain text

covers an individual’s conduct, the Constitution presumptively protects that conduct. To

justify its regulation, the government . . . must demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation.” 142 S. Ct. at

2126.

         Analyzing the text in this case is straightforward. The Supreme Court has

explained that “the most natural reading of ‘keep Arms’ in the Second amendment is to

‘have weapons.’ ” Heller, 554 U.S. at 584. And of course, to have a firearm, there must

be a way for a citizen to buy a firearm, because constitutional rights “implicitly protect

those closely related acts necessary to their exercise.” Luis v. United States, 578 U.S. 5,

26 (2016) (Thomas, J. concurring in the judgment). As the Ninth Circuit has correctly


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explained, “the right to keep and bear arms for self-defense wouldn’t mean much without

the ability to acquire arms.” Teixeira v. County of Alameda, 873 F.3d 670, 677 (9th Cir.

2017) (en banc) (quotations omitted); see also Jones v. Bonta, 34 F.4th 704, 716 (9th Cir.

2022) (noting that “laws that burden the ability to purchase arms burden Second

Amendment rights”), vacated and remanded for proceedings consistent with Bruen, 47

F.4th 1124 (Mem.); Illinois Ass’n of Firearms Retailers v. City of Chicago, 961 F.

Supp.2d 928, 930 (N.D. Ill. 2014) (“This right must include the right to acquire

firearms.”); Andrews v. State, 50 Tenn. 165, 178 (1871) (“The right to keep arms,

necessarily involves the right to purchase them.”).

       Therefore, the de facto ban on purchases of firearms in Oregon is presumptively

unconstitutional and the Court would ordinarily assess whether Defendants could point to

a tradition of “distinctly similar historical regulation” that burdened the right in the same

way and for the same reasons to justify the law. Bruen, 142 S. Ct. at 2131. However, in

this case it is inappropriate to even consult history, because “to the extent later history

contradicts what the text says, the text controls” and historical practice “cannot overcome

or alter [the constitutional] text.” Id. at 2137. There is simply no way to square the right

to keep and bear arms with a statute that forbids individuals to acquire arms

       In fact, the Supreme Court has already declared laws this restrictive outside the

pale of our historical traditions of firearm regulation. In Heller, the Supreme Court

invalidated a District of Columbia law that “totally bans handgun possession in the

home” and “requires that any lawful firearm in the home be disassembled or bound by a

trigger lock at all times, rendering it inoperable.” 554 U.S. at 628. Finding that the law

“amounts to a prohibition on an entire class of ‘arms’ that is overwhelmingly chosen by

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American society for [the] lawful purpose” of self-defense, the Court declared it

unconstitutional, noting “[f]ew laws in the history of our Nation have come close to the

severe restriction of the District’s handgun ban. And some of those few have been struck

down.” Id. at 628–29. Measure 114, when it goes into effect, will join the small group of

laws that are comparably strict to the law invalidated in Heller, since it bans the purchase

of all firearms. Just as there could be no historical precedent for the law in Heller, there

is plainly no historical tradition of laws that can justify a flat ban on the sale of all

firearms in the State of Oregon. And just as in Heller, comparably restrictive laws have

been struck down. In Illinois Association of Firearms Retailers, for example, the court

held that the City of Chicago’s “flat ban on legitimate sales and transfers [of firearms]”

violated the Second Amendment. 961 F.Supp.2d at 947. And of course, a municipal ban

on firearm sales, while unconstitutional, allows residents to freely acquire firearms in

other municipalities in the state. Interstate firearm sales, by contrast, are sharply

circumscribed by federal law. See 18 U.S.C. §§ 922(a)(3), (b)(3).

        Unless and until Oregon puts into place a process for granting carry permits that

will allow ordinary, law-abiding Oregonians to exercise their rights by purchasing

firearms, Measure 114 will work an abridgement of the Second Amendment right to keep

and bear arms and must be enjoined.

II      THE REMAINING INJUNCTION FACTORS ALL FAVOR PLAINTIFFS.

        “It is well established that the deprivation of constitutional rights ‘unquestionably

constitutes irreparable injury.’ ” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 20-

12). This is no less true in the context of a Second Amendment challenge. The Second

Amendment “is not ‘a second class right, subject to an entirely different body of rules


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than other Bill of Rights guarantees.’ ” Bruen, 142 S. Ct. at 2156 (quoting McDonald,

561 U.S. at 780 (plurality op.)). “The Second Amendment protects . . . intangible and

unquantifiable interests,” infringements of which “cannot be compensated by damages.”

Ezell v. City of Chicago, 651 F.3d 684, 699 (7th Cir. 2011). As such, for the same

reasons that Plaintiffs have demonstrated the Oregon de facto ban on purchasing firearms

infringes their Second Amendment rights, they have established irreparable harm.

       The existence of an ongoing constitutional violation also disposes of the “balance

of the equities” and “public interest” factors this Court considers in granting a

preliminary injunction. “[I]t is always in the public interest to prevent the violation of a

party’s constitutional rights.” Melendres, 695 F.3d at 1002 (quoting Sammartano v. First

Judicial Dist. Ct., 303 F.3d 959, 974 (9th Cir. 2002)). And Oregon will not be harmed in

any way by an injunction that merely keeps in place the status quo which has always

prevailed in Oregon until now. Supporters of Measure 114 have expressed their belief

that “sales will not halt because permit rules cannot be required until (Oregon State

Police) develops the rules and finalizes the standardized form to apply,” Maxine

Bernstein, Oregon gun sales skyrocket after gun control Measure 114 passes, THE

OREGONIAN/OREGONLIVE (Nov. 16, 2022), available at https://bit.ly/3VJrNVS.

Unfortunately, there is no provision in Measure 114 that delays its effectiveness until

application is possible, but an injunction from this Court could supply that restriction, and

the balance of harms cannot favor Defendants when the Court is merely implementing a

common-sense stop-gap that even Measure 114’s most ardent supporters believe should

be in place.




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                                       Conclusion

       For these reasons, the Court should enter a temporary restraining order and

preliminary injunction in Plaintiffs’ favor against enforcement of the unconstitutional

Oregon purchase ban unless and until permits are being processed and issued under

Measure 114.

       Dated: December 2, 2022.              Respectfully submitted,

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